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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        )       Case No. 3:18-cr-00599-VC
14                                                    )
             Plaintiff,                               )       CORRECTED FIRST SET OF EVIDENTIARY
15                                                    )       STIPULATIONS
        v.                                            )
16                                                    )       Judge:           Hon. Vince Chhabria
     ISAI ULISES VILLAGOMEZ,                          )       Pretrial Conf.   March 7, 2022
17                                                    )       Time:            2:00 p.m.
             Defendant.                               )       Trial Date:      March 14, 2022
18                                                    )
                                                      )
19
             IT IS HEREBY STIPULATED AND AGREED, between plaintiff, the United States of
20
     America, by its undersigned counsel, and defendant, Isai Ulises Villagomez, by his undersigned counsel,
21
     that if the government were to call as a witness the certified translator who prepared the following
22
     Spanish-to-English transcriptions and translations, that witness (a) would meet the requirements of Fed.
23
     R. Evid. 702 to qualify as an expert in the transcription and translation of conversations and messages
24
     from Spanish to English, (b) would testify that she transcribed and translated the following Spanish-to-
25
     English translation exhibits from the corresponding recorded calls and text messages identified by
26
     exhibit number below, and (c) would testify that those transcription and translation exhibits accurately
27
     convey in English the intent or idea of the Spanish captured in the corresponding recorded calls and text
28

     CORRECTED STIPULATIONS RE RECORDS                    1
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 1 messages. The parties stipulate and agree that the above proffered testimony would suffice to admit the

 2 following Spanish-to-English transcription and translation exhibits under Federal Rules of Evidence 702

 3 and 901, subject to the government laying a foundation for the authenticity and relevance of the

 4 corresponding recorded calls and text messages. If the government lays such a foundation for

 5 authenticity and relevance of the recorded calls and text messages, then the parties stipulate and agree

 6 that the following Spanish-to-English transcription and translation exhibits are admissible without the

 7 government calling a sponsoring witness:

 8           Recorded Call or Text Message Exhibit          Spanish-to-English Transcription/Translation Exhibit

 9                      Trial Exhibit 30                                 Trial Exhibits 152 and 153

10                      Trial Exhibit 33                                      Trial Exhibit 34

11                      Trial Exhibit 35                                      Trial Exhibit 36

12                      Trial Exhibit 37                                      Trial Exhibit 38

13                      Trial Exhibit 39                                      Trial Exhibit 40

14                      Trial Exhibit 41                                      Trial Exhibit 42

15                      Trial Exhibit 43                                      Trial Exhibit 44

16                      Trial Exhibit 45                                      Trial Exhibit 46

17                      Trial Exhibit 47                                      Trial Exhibit 48

18                      Trial Exhibit 49                                      Trial Exhibit 50

19                      Trial Exhibit 51                                      Trial Exhibit 52

20                      Trial Exhibit 53                                      Trial Exhibit 54
21                      Trial Exhibit 55                                      Trial Exhibit 56
22                      Trial Exhibit 57                                      Trial Exhibit 58
23                      Trial Exhibit 59                                      Trial Exhibit 60
24
                        Trial Exhibit 61                                      Trial Exhibit 62
25
                        Trial Exhibit 63                                      Trial Exhibit 64
26
                        Trial Exhibit 65                                      Trial Exhibit 66
27
                        Trial Exhibit 67                                      Trial Exhibit 68
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     CORRECTED STIPULATIONS RE RECORDS                  2
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 1                       Trial Exhibit 70                                     Trial Exhibit 71

 2                       Trial Exhibit 72                                     Trial Exhibit 73

 3                       Trial Exhibit 74                                     Trial Exhibit 75

 4                       Trial Exhibit 76                                     Trial Exhibit 77

 5                       Trial Exhibit 96                                     Trial Exhibit 97

 6                       Trial Exhibit 98                                     Trial Exhibit 99

 7                      Trial Exhibit 100                                     Trial Exhibit 101

 8                      Trial Exhibit 102                                     Trial Exhibit 103

 9                      Trial Exhibit 104                                     Trial Exhibit 105

10                      Trial Exhibit 106                                     Trial Exhibit 107

11                      Trial Exhibit 108                                     Trial Exhibit 109

12                      Trial Exhibit 110                                     Trial Exhibit 111

13                      Trial Exhibit 112                                     Trial Exhibit 113
14                      Trial Exhibit 114                                     Trial Exhibit 115
15                      Trial Exhibit 116                                     Trial Exhibit 117
16                      Trial Exhibit 118                                     Trial Exhibit 119
17
                        Trial Exhibit 120                                     Trial Exhibit 121
18
                        Trial Exhibit 122                                     Trial Exhibit 123
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                        Trial Exhibit 124                                     Trial Exhibit 125
20

21
             Mr. Villagomez does not stipulate that in fact the transcriptions and translations described
22
     above necessarily reflect a true, authentic, accurate or complete translation of any actual conversation he
23
     may have had.
24
            //
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            //
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            //
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     CORRECTED STIPULATIONS RE RECORDS                    3
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             Case 3:18-cr-00599-VC Document 221 Filed 03/12/22 Page 4 of 4




 1         IT IS SO STIPULATED AND AGREED.

 2                                                  Respectfully submitted,

 3                                                  STEPHANIE M. HINDS
                                                    United States Attorney
 4

 5 DATED: March 11, 2022                                   /s/
                                                    ANKUR SHINGAL
 6                                                  ZACHARY G.F. ABRAHAMSON
                                                    Assistant United States Attorneys
 7

 8
     DATED: March 11, 2022                                 /s/
 9                                                  ELIZABETH M. FALK
                                                    DANIEL BLANK
10                                                  Attorney for Defendant Isai Ulises
11                                                  Villagomez

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     CORRECTED STIPULATIONS RE RECORDS        4
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